     Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 1 of 13




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 In re:                                     §
                                            §       Case No. 22-32998
 HOUSTON REAL ESTATE                        §
 PROPERTIES, LLC,                           §       Chapter 7
                                            §
               Debtor,                      §
                                            §
JOHN QUINLAN, OMAR                          §
KHAWAJA, AND OSAMA                          §
ABDULLATIF,                                 §
                                            §
              Plaintiffs                            Adversary Case No. 23-03141
                                            §
v.                                          §
                                            §
HOUSTON REAL ESTATE                         §
PROPERTIES, LLC, et al.                     §
                                            §
             Defendants                     §
                                            §

            EXHIBIT LIST FOR DECEMBER 20, 2024 HEARING ON ALI
          CHOUHDRI’S MOTION FOR DISQUALIFICATION/RECUSAL OF
                        JUDGE JEFFREY P. NORMAN

     Ali Choudhri files this Witness and Exhibit List for the emergency hearing to be held

December 20, 2024 at 9:00 a.m. (prevailing Central Time) (the “Hearing”) on Ali Choudhri’s

Motion for Disqualification/Recusal of Judge Jeffrey P. Norman (ECF No. 245).

                                       WITNESS LIST

     Ali Choudhri may call the following witnesses at the Hearing:


     1.      Omar Khawaja

     2.      Sajid Ali M.D.

     3.      Ying Zhao M.D.

     4.      Lori Hood

     5.      Osama Abdullatif
Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 2 of 13



6.    George Lee

7.    Harold Polk

8.    Christopher Wyatt

9.    Hira Azhar

10.   Azeemeh Zaheer

11.   Carl Cecere

12.   Marcus Hill

13.   Gray Burks

14.   Faisal Shah

15.   Gregg Costa

16.   Jeff Steidly

17.   Lenard Parkins

18.   Michael Ballases

19.   Melissa Hayward

20.   David Tang

21.   Quanell X Farrakhan

22.   Jerry Alexander

23.   Michael Durrschmidt

24.   Jim Wetwiska

25.   Paul Kirkland

26.   Mansour Chaudhary

27.   Anwar Qadeer

28.   Robert Norris

29.   Scott Funk

30.   Kell Mercer

31.   Wayne Dolcefino
       Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 3 of 13



       32.     John Quinlan

       33.     Joshua Sussberg

       34.     Mathew Cavenaugh

       35.     Dward Darjean

       36.     Ali Mokaram

       37.     Jeff Joyce

       38.     Any witness called by any other party.

       39.     Any witness necessary to rebut the testimony of any witness designated by another

               party.




Exhibit                 Description             Offer   Object   Admit     Disposition Case # /
                                                                                       ECF

  1.         Order Granting Motion for
             Sanctions Against Defendant
             Shahnaz Choudhri Nov 18, 2024
  2.a        Houston Cardiology Return
             to Work Letter for Ali
             Choudhri Jun 7, 2024

  2.b        Medical Business Affidavit
             of Sajid Ali, MD


  3.         Transcript of Trial Monday, June
             17, 2024 Case 23-34815

  4.
             Transcript of Trial, Wednesday,
             June 19, 2024
  5.         Memorandum Opinion June 22,
             2024
     Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 4 of 13



6.      Order Denying Motion to
        Reconsider (ECF 740) September
        24, 2024
7.      Transcript of Oral Hearing August
        19, 2019 Cause No. 2015-36895
        Hira Azhar
8.a     Townsen Memorial Hospital
        Radiology Report June 2, 2024

8.b     Townsen Memorial Affidavit


9.a     Houston Methodist Discharge
        Information June 3, 2024

9.b     Houston Methodist Medical
        record Affidavit June 3, 2024

10.     Order on Motion for Entry of
        Order Prohibiting Credit Bidding
        by NBK
11.     Amended Supplement to
        Emergency Motion to Continue
        Hearing on Confirmation of Plan
        June 6, 2024 Physician’s note
12.     Order Disallowing Proof of Claim
        and Referral to US Attorney
        September 9, 2024
13.     Remote Deposition of Omar
        Khawaja September 11, 2024

14.     Adversary CoExhibit 13
        2024.09.11 Khawaja.Omar Depo
        24-10120.pdfmplaint
        24-10120-smr Lee
15.     Emergency Deposition Dispute
        23-03141-ADV October 3, 2024

16.     Declaration of Shahnaz Choudhri
        November 8, 2024

17.     Order Denying Motion (ECF 294)
        and Show Cause Order with
        Prejudice on Shahnaz Choudhri
        Deposition Oct 8, 2024
18.     Videotaped Deposition of Omar
        Khawaja Oct 4, 2024Cause No.
        22-32998
  Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 5 of 13



19.    Order Abating Ruling on NBK’s
       (Renewed) Emergency Motion to
       Enforce Sale Order
20.    Transcript of Emergency Motions
       December 5, 2024 23-34815
       Galleria 2425 Owner, LLC.,
       Debtor
21.    Videotaped Deposition of Omar
       Khawaja Vol. 1 October 3, 2024

22.    Bankruptcy Local Rules In the US
       Bankruptcy Court for the
       Southern District of Texas
23.    Order Transferring Case to
       Southern District of Texas Case
       No. 24-11544
24.    Order Annulling Automatic Stay
       Dec 6, 2024

25.    Proof of Claim 24-10120 June 6,
       2024

26.    Letter to Dolcefino Consulting
       and Wayne Dolcefino Re: Cause
       No. 2021-00192
27.    Emails between James Pope and
       Michael Ballases Between August
       18, 2024 and November 7, 2024
28.    Agreed Final Judgment and
       Permanent Injunction OCWEN v
       Wyatt Cause. No. 79190
29.    Plaintiff’s Request to Inspect
       Original Documents Cause No.
       201961734 (Dalio I)
30.   Third Amended Petition for
      Divorce Cause No. 2015-36895

31.   Oral Deposition of George M. Lee
      August 12, 2022

32.   Videotaped Deposition of Osama
      Abdullatif Oct 4, 2024

33.   Remote Deposition of Osama
      Abdullatif September 11, 2024

34.    Motion Hearing US Bankruptcy
      Court for the Southern District of
      Texas Houston Division, Case No.
      21-60082-11 Grover Enterprises
  Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 6 of 13



35.    Creditor’s Objection to Claim of
      John Quinlan, Omar Khawaja, and
      Osama Abdullatif (Claim No. 9-1)
36.    Oral Deposition of Serena Yu July
      14, 2022

37.   Letter Re: Waiver of Conflict
      Letter by Hoover Slovacek

38.    Motion Hearing for Temporary
      Injunction Cause No. 2019-61734
      Grove v Dalio I v Polk
39.    Findings and Conclusions
      2015-36895 In the Matter of the
      Marriage of Hira Azhar and
      Mohammad Ali Choudhri
40.   Email from Charles Mansoor Re:
      Notice of Abstract of Judgment
      Mar 30, 2024
41.    Order of Non-Suit with Prejudice
      Cause No. 2011-25222 Erpile and
      Abdullatif v Choudhri Jetall
42.    Hearing January 2, 2024 Case No.
      13-35654-H1 Khawaja Partners
      and Jetall Companies Debtors:
      Khawaja Partners v Jetall
      Companies
43.    Plaintiff’s First Amended Petition
      Cause No. 2020-79998 Choudhri v
      Lee et. al. Nov 5, 2024
44.    Emergency Motion to Continue
      Hearing on Objection to Claim of
      NBK, US Bankruptcy Court
      Southern District of Texas Case.
      No. 23-34815
45.    Emergency Motion to Continue
      Hearing on Confirmation of Plan
      Filed by the NBK and Joint Plan
      Proposed by 2425 WL, LLC and
      Debtor Cause No. 23-34815 US
      Bankruptcy Court Southern District
      of Texas Houston Division June 4,
      2024
46.    Sale Agreement December 18
      2012 between Ali Mokaram and
      Osama Abdullatif
47.    Declaration of Quanell X
      December 29, 2020
  Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 7 of 13



48.     Trial Transcript Cause No.
       2023-43755 Naissance Galleria v
       Azeemeh Zaheer September 6,
       2023
49.     Order Denying Second Motion to
       Continue (ECF 290) with prejudice
       Case No. 23-03141 November 7,
       2024 (on Emergency Motion to
       Reschedule Deposition)
50.     Order of Final Summary Judgment
       Cause No. 2018-2373Exhibit
       49.pdf3 Khawaja Partners v Jetall
       Companies
51.     Contract and Agreement of
       Employment between Hira Azhar
       and Bobby Newman
52.     Transcript of Veritex Community
       Bank’s Emergency Motion to
       Enforce Bankruptcy Court’s order
       46 Jun 4, 2024
53.     Clerk’s Certificate of Deposit in
       Lieu of Supersedeas Bond Cause
       No. 2013-41273 Abdullatif and
       Abdullitif & Co v Choudhri and
       HREP: and Order Requiring
       Additional Cash Deposit
54.     Plaintiff’s Original Petition Cause
       No. 2011-25222 Ct: 269 Erpile and
       Abdullatif v Choudhri et. al
55.     Notice of Abstracts of Judgment
       February 15, 2024 Cause No.
       2012-27197-A
56.     Order Transferring Venue Case
       No. 24-10120 In Re: Joshua Gates
       Debtor: Abdullatif and
       Mokaram-Latif West Loop v Valle,
       And Choudhri Adv
57.a   Christopher Wyatt Been Verified
       Report

57.b   Christopher Wyatt Audio


58.     Local Court Rules for the United
       States Bankruptcy Court for the
       Western District of Texas
59.     Transcript of hearing November
       13, 2024 Cause No. 4:24-CV-3224
       (Southern Bankruptcy)
  Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 8 of 13



60.   ORDER DENYING
      DEFENDANTS’ MOTIONS TO
      DISMISS signed December 5,
      2024
61.   ORDER DENYING
      EMERGENCY MOTION TO
      CONTINUE HEARING AND
      ORDER CANCELING HEARING
      signed on Oct 8, 2024

62.   ORDER DENYING MOTION
      FOR WITHDRAWAL OF THE
      REFERENCE ( Jury trial)
      signed November 6, 2024
63.   SHAHNAZ CHOUDHRI’S
      EMERGENCY MOTION TO
      RESCHEDULE DEPOSITION
      filed November 7, 2024 ECF 287
64.   ORDER DENYING
      EMERGENCY MOTION TO
      RESCHEDULE DEPOSITION
      Signed November 7, 2024 ECF 288
65.   SHAHNAZ CHOUDHRI’S
      EMERGENCY MOTION TO
      RESCHEDULE DEPOSITION
      filed November 7, 2024 ECF 290
66.   Order Granting NBK’s Emergency
      (Renewed) Motion to Enforce Sale
      Order signed December 6, 2024
      ECF 871
67.   Memorandum Opinion signed
      December 6, 2024 ECF 870

68.   Case # 23-03141 Case No.
      23-03141
      ECF Doc.1, ECF Doc.2,
      ECF Doc.3, ECF Doc.4,
      ECF Doc.5, ECF Doc.6,
      ECF Doc.7, ECF Doc.22,
      ECF Doc.22-1, ECF Doc.22-2,
      ECF Doc.22-3, ECF Doc.25,
      ECF Doc.26, ECF Doc.28,
      ECF Doc.31, ECF Doc.32,
      ECF Doc.37, ECF Doc.38,
      ECF Doc.47, ECF Doc.48,
      ECF Doc.49, ECF Doc.52,
      ECF Doc.53, ECF Doc.55,
      ECF Doc.56, ECF Doc.57,
      ECF Doc.58, ECF Doc.59,
      ECF Doc.62, ECF Doc.63,
Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 9 of 13



  ECF Doc.64, ECF Doc.65,
  ECF Doc.67, ECF Doc.68,
  ECF Doc.78, ECF Doc.79,
  ECF Doc.81, ECF Doc.82,
  ECF Doc.83, ECF Doc.86,
  ECF Doc.92, ECF Doc.94,
  ECF Doc.95, ECF Doc.96,
  ECF Doc.98, ECF Doc.99,
  ECF Doc.101, ECF Doc.102,
  ECF Doc.108, ECF Doc.110,
  ECF Doc.111, ECF Doc.114,
  ECF Doc.115, ECF Doc.116
  ECF Doc.,117, ECF Doc.122,
  ECF Doc.125, 126, ECF Doc.129,
  ECF Doc.135, ECF Doc.138,
  ECF Doc.141, ECF Doc.147,
  ECF Doc.149, ECF Doc.155,
  ECF Doc.158, ECF Doc.149,
  ECF Doc.159, ECF Doc.160,
  ECF Doc.168, ECF Doc.174,
  ECF Doc.175, ECF Doc.176,
  ECF Doc.177, ECF Doc.185,
  ECF Doc.187, ECF Doc.189,
  ECF Doc.190, ECF Doc.194,
  ECF Doc.198, ECF Doc.199,
  ECF Doc.206, ECF Doc.207,
  ECF Doc.208, ECF Doc.209,
  ECF Doc.215, ECF Doc.224,
  ECF Doc.225, ECF Doc.240,
  ECF Doc.241, ECF Doc.245,
  ECF Doc.248, ECF Doc.250,
  ECF Doc.252, ECF Doc.264,
  ECF Doc.265, ECF Doc.267,
  ECF Doc.284, ECF Doc.285,
  ECF Doc.287, ECF Doc.288,
  ECF Doc.289, ECF Doc.290,
  ECF Doc.291, ECF Doc.293,
  ECF Doc.294, ECF Doc.295,
  ECF Doc.297, ECF Doc.198,
  ECF Doc.315, ECF Doc.316,
  ECF Doc.317, ECF Doc.318,
  ECF Doc.319, ECF Doc.320,
  ECF Doc.322, ECF Doc.325,
  ECF Doc.326, ECF Doc.334,
  ECF Doc.335, ECF Doc.337,
  ECF Doc.347, ECF Doc.248,
  ECF Doc.249, ECF Doc.362,
  ECF Doc.364, ECF Doc.348,
  ECF Doc.377
 Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 10 of 13



69.    Dec 9 Transcript page 34 lines
      20-21

70.   Dec 2 transcript


71.   Dec 16 Transcript


72.   June 7, 2011 Transcript


73.   June 9, 2011 Transcript


74.   June 13, 2011 Transcript


75.   June 15, 2011 Transcript


76.   June 16, 2011 Transcript


77.    Case number 24-35761 Jetall
      companies Chapter 11.
      ECF Doc.1, ECF Doc.2,
      ECF Doc.3, ECF Doc.4,
      ECF Doc.9, ECF Doc.12,
      Case No. 23-03141
78.    Co Star Write up


79.   KRCL - Dolcefino Audio


80.    John Quinlan 10/4 depo Case No.
      23-03141

81.   Disqualification of Jackson Walker


82.   Co Star Write up


83.   KRCL - Dolcefino Audio
 Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 11 of 13



84.    John Quinlan 10/4 depo Case No.
      23-03141

85.    Order Remanding Adversary
      proceeding dec. 2 2024

86.   Email between Jeff Joyce and
      Scott funk

87.   2014-08-28 Bankruptcy Court
      Transcript of Omar Khawaja
      Testimony
88.   2016-01-13 Phase 1 Final
      Judgment.pdf

89.   Wayne Dolcefino Jury Request


90.   Jetall Companies Background


91.   Any exhibit identified or offered by
      any other party.

92.   Any exhibit necessary for
      impeachment and/or rebuttal
      purposes.
     Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 12 of 13



                                RESERVATION OF RIGHTS

       Jetall Companies, Inc. reserves the right to call or to introduce one or more, or none, of

the witnesses and exhibits listed above, and further reserve the right to supplement this Witness

and Exhibit List before the Hearing.

DATED: December 19, 2024
                                                                         Respectfully Submitted,
                                                                              By: /s/ Ali Choudhri
                                                                                      Ali Choudhri
                                                                                 2425 West Loop,
                                                                                 Suite 1100 77027
                                                                            Phone: 281-630-6627
                                                                      Email: ali@jetallcapital.com
                                                                                Defendant, Pro se
       Case 23-03141 Document 410-1 Filed in TXSB on 12/19/24 Page 13 of 13



                                     CERTIFICATE OF SERVICE

        The undersigned certifies that on December 19, 2024, a true and correct copy of the
 foregoing was served via the Court’s CM/ECF system to all parties who are deemed to have
 consented to ECF electronic service, and via thumbdrive to those listed below.


Thomas Michael Ballases
Hoover Slovacek LLP
5051 Westheimer
Ste 1200
Houston, TX 77056
713-977-8686
Email: ballases@hooverslovacek.com
LEAD ATTORNEY



                                                            /s/ Ali Choudhri
                                                            Ali Choudhri
